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 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   BAYVIEW LOAN SERVICING, LLC,                       ) CASE NO. 3:21-cv-6638-EMC
                                                        )
13           Plaintiff,                                 )
                                                        )
14      v.                                              ) DEFENDANT UNITED STATES’ AMENDED
                                                        ) ANSWER
15   DAVE STANLEY; BERRY W. MEYER,                      )
     Executor of the Estate of Melvin Rouse; and        )
16   DOES 1 to 50.                                      )
                                                        )
17           Defendants.                                )
                                                        )
18                                                      )

19                    Defendant the United States (“Defendant”) hereby responds to the Complaint filed by
20 Plaintiff Bayview Loan Servicing, LLC (“Plaintiff”) as follows:

21           Unnumbered paragraph.          Defendant admits that this paragraph recites Plaintiff’s summary of
22 the claims brought in this case. Defendant is without sufficient knowledge to admit or deny the factual

23 allegations contained in this paragraph and, on that basis, denies those allegations.

24           1.       Admit as to the jurisdiction and venue in District Court.
25           2.       Admit.
26           3.       Defendant is without sufficient knowledge to admit or deny the factual allegations
27 contained in this paragraph and, on that basis, denies those allegations.

28           4.       Defendant is without sufficient knowledge to admit or deny the factual allegations

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 1 contained in this paragraph and, on that basis, denies those allegations.

 2          5.       Defendant is without sufficient knowledge to admit or deny the factual allegations

 3 contained in this paragraph and, on that basis, denies those allegations.

 4          6.       Defendant denies that it is liable to Plaintiff and that its interests in the property are

 5 subordinate to Plaintiff’s alleged interests. Defendant is without sufficient knowledge to admit or deny

 6 the remaining factual allegations contained in this paragraph and, on that basis, denies those allegations.

 7          7.       Defendant is without sufficient knowledge to admit or deny the factual allegations

 8 contained in this paragraph and, on that basis, denies those allegations.

 9          8.       Defendant incorporates all prior responses as if fully set forth herein.

10          9.       Defendant is without sufficient knowledge to admit or deny the factual allegations

11 contained in this paragraph and, on that basis, denies those allegations.

12          10.      Defendant is without sufficient knowledge to admit or deny the factual allegations

13 contained in this paragraph and, on that basis, denies those allegations.

14          11.      Defendant is without sufficient knowledge to admit or deny the factual allegations

15 contained in this paragraph and, on that basis, denies those allegations.

16          12.      Defendant is without sufficient knowledge to admit or deny the factual allegations

17 contained in this paragraph and, on that basis, denies those allegations.

18          13.      Defendant is without sufficient knowledge to admit or deny the factual allegations

19 contained in this paragraph and, on that basis, denies those allegations.

20          14.      Defendant is without sufficient knowledge to admit or deny the factual allegations

21 contained in this paragraph and, on that basis, denies those allegations.

22          15.      Defendant is without sufficient knowledge to admit or deny the factual allegations

23 contained in this paragraph and, on that basis, denies those allegations.

24          16.      Defendant is without sufficient knowledge to admit or deny the factual allegations

25 contained in this paragraph and, on that basis, denies those allegations.

26          17.      Defendant is without sufficient knowledge to admit or deny the factual allegations

27 contained in this paragraph and, on that basis, denies those allegations.

28          18.      Defendant is without sufficient knowledge to admit or deny the factual allegations

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 1 contained in this paragraph and, on that basis, denies those allegations.

 2          19.     Defendant admits that this paragraph sets forth the remedy Plaintiff seeks in this action.

 3          20.     Deny.

 4          21.     Defendant is without sufficient knowledge to admit or deny the factual allegations

 5 contained in this paragraph and, on that basis, denies those allegations.

 6          22.     Defendant incorporates all prior responses as if fully set forth herein.

 7          23.     Defendant is without sufficient knowledge to admit or deny the factual allegations

 8 contained in this paragraph and, on that basis, denies those allegations.

 9          24.     Defendant is without sufficient knowledge to admit or deny the factual allegations

10 contained in this paragraph and, on that basis, denies those allegations.

11          25.     Defendant is without sufficient knowledge to admit or deny the factual allegations

12 contained in this paragraph and, on that basis, denies those allegations.

13          26.     Defendant admits that this paragraph sets forth the remedy Plaintiff seeks in this action.

14          27.     Defendant is without sufficient knowledge to admit or deny the factual allegations

15 contained in this paragraph and, on that basis, denies those allegations.

16          28.     Defendant admits that this paragraph sets forth the remedy Plaintiff seeks in this action.

17          29.     Defendant incorporates all prior responses as if fully set forth herein.

18          30.     Defendant is without sufficient knowledge to admit or deny the factual allegations

19 contained in this paragraph and, on that basis, denies those allegations.

20          31.     Defendant is without sufficient knowledge to admit or deny the factual allegations

21 contained in this paragraph and, on that basis, denies those allegations.

22          32.     Defendant incorporates all prior responses as if fully set forth herein.

23          33.     Defendant admits that this paragraph sets forth the remedy Plaintiff seeks in this action.

24 Defendant is without sufficient knowledge to admit or deny the remaining factual allegations contained

25 in this paragraph and, on that basis, denies those allegations.

26          34.     Defendant admits that this paragraph sets forth the remedy Plaintiff seeks in this action.

27 Defendant is without sufficient knowledge to admit or deny the remaining factual allegations contained

28 in this paragraph and, on that basis, denies those allegations.

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 1          35.      Defendant is without sufficient knowledge to admit or deny the factual allegations

 2 contained in this paragraph and, on that basis, denies those allegations.

 3          36.      Defendant is without sufficient knowledge to admit or deny the factual allegations

 4 contained in this paragraph and, on that basis, denies those allegations.

 5          The section beginning “Wherefore, Plaintiff prays for judgment as follows” sets forth Plaintiff’s

 6 prayer for relief, to which no response is required. To the extent a response is required, Defendant

 7 denies the allegations that pertain to Defendant and denies that Plaintiff is entitled to any relief

 8 whatsoever with respect to Defendant.

 9          Defendant denies each and every allegation contained in the Complaint not specifically admitted

10 above.

11                                        DEFENDANT’S LIEN CLAIMS

12          1.       On the following dates, duly authorized delegates of the Secretary of the Treasury made

13 assessments against Defendants David and Lisa Stanley for unpaid federal income taxes and penalties

14 for the below-listed tax periods, creating federal tax liens:

15            Taxpayer                Tax Year         Assessment      Notice of Federal Amount Due as of
                                                          Date             Tax Lien           12/9/2021
16                                                                         Recorded
17    David & Lisa Stanley         2006              8/8/2016          11/21/2016        $7,033.76

18    David & Lisa Stanley         2007              8/15/2016         11/21/2016           $9,670.81

19    David Stanley                2008              12/1/2014         12/14/2015           $10,286.09

20    David Stanley                2009              12/1/2014         12/14/2015           $86,687.80

21    David Stanley                2010              2/24/2014         12/30/2014           $58,197.76

22    David Stanley                2012              2/15/2016         5/16/2016            $30,245.13

23    David & Lisa Stanley         2013              10/10/2016        11/21/2016           $96,783.68

24                                                   5/27/2019         10/12/2021           (combined)

25    David & Lisa Stanley         2014              5/27/2019         7/22/2019            $75,473.56

26    David Stanley                2015              5/27/2019         7/22/2019            $261,032.08

27    Lisa Stanley                 2015              6/3/2019          12/2/2020            $252,129.64

28    David Stanley                2016              5/27/2019         7/22/2019            $164,085.04

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 1   Lisa Stanley                  2016              6/3/2019         12/2/2020             $159,939.59
 2

 3          2.       The federal tax liens attach to any proceeds owing to David and/or Lisa Stanley as a
 4 result of the partition requested in this action. Pursuant to 26 U.S.C. § 6323(a), the United States’

 5 federal tax liens have priority over most competing liens, subject to several exceptions (see 26 U.S.C.

 6 § 6323(b)), when the lien has been recorded. As indicated above, the United States recorded several

 7 liens for taxes, penalties, and accrued interest on the dates indicated above. As of December 9, 2021,

 8 the balance on the above-listed assessments totals $610,533.90 for David Stanley, $412,069.23 for Lisa

 9 Stanley, and $188,933.72 for David and Lisa Stanley jointly, plus statutory interest accruing pursuant to

10 law, pursuant to 26 U.S.C. § 6621(a), et seq.

11                                             PRAYER FOR RELIEF
12          WHEREFORE, Defendant prays that:
13          1.       Plaintiff takes nothing by its Complaint against Defendant;
14          2.       Judgment be entered in favor of Defendant;
15          3.       Defendant be awarded its costs of suit;
16          4.       The Court award such other and further relief as it may deem proper.
17   DATED: December 15, 2021                              Respectfully submitted,
18                                                         STEPHANIE M. HINDS
                                                           Acting United States Attorney
19

20                                                         /s/ Adrienne Zack
                                                           ADRIENNE ZACK
21                                                         Assistant United States Attorney
                                                           Attorneys for Defendant the United States
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 1                                       CERTIFICATE OF SERVICE

 2         The undersigned hereby certifies that she is an employee of the Office of the United States
   Attorney for the Northern District of California and is a person of such age and discretion to be
 3
   competent to serve papers. The undersigned further certifies that she is causing a copy of the following:
 4
                             DEFENDANT UNITED STATES’ AMENDED ANSWER
 5
   to be served this date upon the parties in this action by placing a true copy thereof in a sealed envelope,
 6 and served as follows:

 7
   [X] FIRST CLASS MAIL by placing such envelope(s) with postage thereon fully prepaid in the
 8 designated area for outgoing U.S. mail in accordance with this office’s practice.

 9 [] CERTIFIED MAIL (# ) by placing such envelope(s) with postage thereon fully prepaid in the
   designated area for outgoing U.S. mail in accordance with this office's practice.
10

11 [] PERSONAL SERVICE (BY MESSENGER)

12 [] FEDERAL EXPRESS via Priority Overnight

13 [] EMAIL

14 [] FACSIMILE (FAX)

15
   to the party(ies) addressed as follows:
16  Defendant:                                             Defendant:
    Dave Stanley                                           Lisa J Stanley
17 815 Butler Ave.                                         4949 Snyder Lane #144
    Santa Rosa, CA 95407                                   Rohnert Park, CA 94928
18
19          I declare under penalty of perjury under the laws of the United States that the foregoing is true
     and correct.
20
            Executed on December 15, 2021 at San Francisco, California.
21

22                                                /s/ Adrienne Zack
                                                  ADRIENNE ZACK
23                                                Assistant United States Attorney

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